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by this act, as well as other applicable state and federal laws.

                             IN THE DISTRICT COURT IN AND FOR POTTAWATOMIE COUNTY, OKLAHOMA

                                                                                       No. CJ-2024-00141
                                                                                       (Civil relief more than $10,000: MONEY JUDGMENT ($10,000.00 AND
                                                                                       OVER))
 CITIZEN POTTAWATOMIE COMMUNITY DEVELOPMENT CORPORATION
 VS. BEAUCHAMP, NATHANIEL OTIS et al                                                   Filed: 04/11/2024



                                                                                       Judge: CANAVAN, JOHN G. JR.


PARTIES
CITIZEN POTTAWATOMIE COMMUNITY DEVELOPMENT CORPORATION, Plaintiff
HUNTINGTON DISTRIBUTION FINANCE, Defendant
ADA OUTDOORS, LLC AN OKLAHOMA LIMITED LIABILITY COMPANY, Defendant
THE UNITED STATES SMALL BUSINESS ADMINISTRATION, Defendant
CITIZENS BANK OF ADA, Defendant
CORPORATION SERVICE COMPANY, Defendant
TREASURER OF PONTOTOC COUNTY, Defendant
BEAUCHAMP, NATHANIEL OTIS, Defendant
MAGOO FINANCIAL, Defendant
CATERPILLAR FINANCIAL SERVICES, Defendant
TCF INVENTORY FINANCE, Defendant
BOARD OF COUNTY COMMISSIONERS OF PONTOTOC COUNTY, Defendant
CAPITOL SERVICES, LLC AN OKLAHOMA CORPORATION, Defendant
SHAWNEE OUTDOORS, LLC, AN OKLAHOMA LIMITED LIABILITY COMPANY, Defendant
FIRST UNITED BANK AND TRUST CO, Defendant


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ATTORNEYS
Attorney                                                       Represented Parties
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 EVENTS
 None


 ISSUES
 1. MONEY JUDGMENT ($10,000.00 AND OVER)



 DOCKET
mount
 Date          Code     Description
 04/11/2024 [ TEXT ]                                                                                        1   $ 163.00
     FILE PETITION (OVER $10,000.)
     Document Available (#1073453397) TIFF   PDF
     (Entry with fee only)                                                                                  1     $ 6.00
     (Entry with fee only)                                                                                  1     $ 7.00
     OKLAHOMA COURT INFORMATION SYSTEM FEE - EFFECTIVE 07/01/04                                             1    $ 25.00
     LENGTHY TRIAL FUND                                                                                     1    $ 10.00
     OK COURT APPOINTED SPECIAL ADVOCATES                                                                   1     $ 5.00
     10% OF CASA TO COURT CLERK REVOLVING FUND                                                              1     $ 0.50
     OK COUNCIL ON JUDICIAL COMPLAINTS REVOLVING FUND                                                       1     $ 1.55
     10% OF COJC TO COURT CLERK REVOLVING FUND                                                              1     $ 0.16
     STATE JUDICIAL REV. FUND INTERPRETER & TRANSLATOR SERVICES                                             1     $ 0.45
     COURTHOUSE SECURITY FEE                                                                                1    $ 10.00
     10% OF CHSC TO COURT CLERK REVOLVING FUND                                                              1     $ 1.00
     15% TO DISTRICT COURT REVOLVING FUND                                                                   1     $ 2.48
     COURT CLERK PRESERVATION FUND                                                                          1    $ 10.00
 04/11/2024 [ TEXT ]                                                                                             $ 160.00
     ISSUE SUMMONS


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04/11/2024 [ TEXT ]
                                Case 5:24-cv-00662-JD   Document 1-3   Filed 06/28/24   Page 4 of 7   $ 10.06
    AJE: COST DUE TO CARD ALLOCATION FEE
04/11/2024 [ TEXT ]                                                                                   $ -8.08
    AJE: MONIES DUE THE FOLLOWING AGENCY(IES) REDUCED
04/11/2024 [ TEXT ]                                                                                   $ -0.04
    AJE: MONIES DUE THE FOLLOWING AGENCY(IES) REDUCED
04/11/2024 [ TEXT ]                                                                                   $ -0.63
    AJE: MONIES DUE THE FOLLOWING AGENCY(IES) REDUCED
04/11/2024 [ TEXT ]                                                                                   $ -0.25
    AJE: MONIES DUE THE FOLLOWING AGENCY(IES) REDUCED
04/11/2024 [ TEXT ]                                                                                   $ -0.06
    AJE: MONIES DUE THE FOLLOWING AGENCY(IES) REDUCED
04/11/2024 [ TEXT ]                                                                                   $ -0.15
    AJE: MONIES DUE THE FOLLOWING AGENCY(IES) REDUCED
04/11/2024 [ TEXT ]                                                                                   $ -0.18
    AJE: MONIES DUE THE FOLLOWING AGENCY(IES) REDUCED
04/11/2024 [ TEXT ]                                                                                   $ -0.25
    AJE: MONIES DUE THE FOLLOWING AGENCY(IES) REDUCED
04/11/2024 [ TEXT ]                                                                                   $ -0.13
    AJE: MONIES DUE THE FOLLOWING AGENCY(IES) REDUCED
04/11/2024 [ TEXT ]                                                                                   $ -0.03
    AJE: MONIES DUE THE FOLLOWING AGENCY(IES) REDUCED
04/11/2024 [ TEXT ]                                                                                   $ -0.01
    AJE: MONIES DUE THE FOLLOWING AGENCY(IES) REDUCED
04/11/2024 [ TEXT ]                                                                                   $ -0.25
    AJE: MONIES DUE THE FOLLOWING AGENCY(IES) REDUCED
04/11/2024 [ TEXT ]
    FILE ENTRY OF APPEARANCE- GEORGE WRIGHT
    Document Available (#1073452984) TIFF PDF


                                                          EXHIBIT 3
04/26/2024 [ TEXT ]
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    FILE PARTIAL DISMISSAL WITHOUT PREJUDICE
    Document Available (#1075803760) TIFF PDF
04/30/2024 [ TEXT ]
    FILE AFFIDAVIT OF MAILING AND AFFIDAVIT OF PROOF OF SERVICE OF PROCESS
    Document Available (#1075856495) TIFF PDF
04/30/2024 [ TEXT ]
    FILE PROOF OF SERVICE- NATHANIEL
    Document Available (#1075856486) TIFF   PDF
04/30/2024 [ TEXT ]
    FILE PROOF OF SERVICE- SHAWNEE OUTDOORS LLC
    Document Available (#1075856575) TIFF PDF
04/30/2024 [ TEXT ]
    FILE PROOF OF SERVICE- NATHANIEL (AND DEFENDANTS)
    Document Available (#1075856560) TIFF PDF
04/30/2024 [ TEXT ]
    FILE PROOF OF SERVICE- ADA OUTDOORS LLC
    Document Available (#1075856516) TIFF PDF
05/03/2024 [ TEXT ]
    FILE AFFIDAVIT OF MAILING AND AFFIDAVIT OF PROOF OF SERVICE OF PROCESS
    Document Available (#1075864570) TIFF PDF
05/13/2024 [ TEXT ]
    FILE ENTRY OF APPEARANCE BY CITIZENS BANK OF ADA AND RESERVATION OF TIME TO PLEAD
    Document Available (#1077194391) TIFF PDF
05/15/2024 [ TEXT ]                                                                                                $ 10.00
    ISSUE SUMMONS
05/23/2024 [ TEXT ]
    FILE ENTRY OF APPEARANCE AND RESERVATION OF TIME- JEROME S. SEPKOWITZ
    Document Available (#1078814232) TIFF PDF
05/28/2024 [ TEXT ]
    FILE ENTRY OF APPEARANCE- SARAH MARSHALL ON BEHALF OF NATHAN O. BEAUCHAMP, ADA OUTDOORS, LLC, AND SHAWNEE OUTDOORS
    LLC
    Document Available (#1079047292) TIFF PDF         EXHIBIT 3
05/28/2024 [ TEXT ]
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    FILE ENTRY OF APPEARANCE- MEREDITH DIBERT LINDAMAN ON BEHALF OF NATHAN O. BEAUCHAMP, ADA OUTDOORS, LLC AND SHAWNEE
    OUTDOORS, LLC
    Document Available (#1079047353) TIFF PDF
05/28/2024 [ TEXT ]
    FILE ENTRY OF APPEARANCE- HUGH M. ROBERT ON BEHALF OF NATHAN O. BEAUCHAMP, ADA OUTDOORS LLC, AND SHAWNEE OUTDOORS
    LLC
    Document Available (#1079047859) TIFF PDF
05/28/2024 [ TEXT ]
    FILE ENTRY OF APPEARANCE- STEPHEN G. LAYMAN ON BEHALF OF NATHAN O. BEAUCHAMP, ADA OUTDOORS LLC, AND SHAWNEE
    OUTDOORS LLC
    Document Available (#1079047847) TIFF PDF
05/28/2024 [ TEXT ]
    FILE ANSWER
    Document Available (#1079048108) TIFF   PDF
05/28/2024 [ TEXT ]
    FILE ANSWER AND CROSS-CLAIM OF DEFENDANT, CITIZENS BANK OF ADA
    Document Available (#1079048142) TIFF PDF
05/28/2024 [ TEXT ]
    FILE AFFIDABIT OF MAILING AND AFFIDAVIT OF PROOF OF SERVICE
    Document Available (#1079049606) TIFF PDF
05/30/2024 [ TEXT ]
    FILE ENTRY OF APPEARANCE- LYNDON W. WHITMIRE & JASON A. SANSONE ON BEHALF OF HERITAGE BANK
    Document Available (#1079067888) TIFF PDF
05/30/2024 [ TEXT ]
    FILE ANSWER OF DEFENDANT OKLAHOMA HERITAGE BANK
    Document Available (#1079068772) TIFF PDF
06/03/2024 [ TEXT ]                                                                                                 $ 30.00
    ISSUE SUMMONS
06/10/2024 [ TEXT ]
    FILE SPECIAL ENTRY OF APPEARANCE AND RESERVATION OF ADDITIONAL TIME TO ANSWER
    Document Available (#1079210564) TIFF PDF

                                                             EXHIBIT 3
06/13/2024 [ TEXT ]
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    FILE ANSWER OF CATERPILLAR FINANCIAL SERVICES CORPORATION
    Document Available (#1079239591) TIFF PDF
06/20/2024 [ TEXT ]
    FILE AFFIDAVIT OF MAILING AND AFFIDAVIT OF PROOF OF SERVICE OF PROCESS
    Document Available (#1080385530) TIFF PDF




                                                          EXHIBIT 3
